Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2222   Filed 04/10/25   Page 1


                   &9)*#*5
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2223   Filed 04/10/25   Page 2
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2224   Filed 04/10/25   Page 3
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2225   Filed 04/10/25   Page 4
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2226   Filed 04/10/25   Page 5
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2227   Filed 04/10/25   Page 6
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-48, PageID.2228   Filed 04/10/25   Page 7
                                      of 7
